   2:18-mn-02873-RMG            Date Filed 04/04/22      Entry Number 2271         Page 1 of 13




                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION


  IN RE: AQUEOUS FILM-FORMING                                  MDL NO: 2:18-mn-2873-RMG
  FOAMS PRODUCTS LIABILITY
  LITIGATION                                                   GENERAL DENIAL AND
                                                           PRELIMINARY STATEMENT OF
                                                            AFFIRMATIVE DEFENSES OF
                                                           DEFENDANT PHARMACIA LLC
                                                            _____________________________

                                                              This Document Relates to
                                                            Tibbetts v. 3M Company, et al.
                                                            Case No.: 2:22-cv-00373-RMG


       Defendant Pharmacia LLC (“Defendant”) lists the following affirmative defenses it plans

to raise at this time in response to the Original Petition for Damages (“Complaint”) filed in this

MDL.

                                   AFFIRMATIVE DEFENSES

       Defendant asserts the following affirmative defenses in response to the claims in each

of Plaintiff’s/Petitioner’s Complaints:

       1.      The Complaint, and each cause of action or count alleged therein, fails to state facts

sufficient to constitute a claim upon which relief may be granted against Defendant.

       2.      The court in which the action was filed, or which Plaintiff/Petitioner has designated

as the “Home Venue,” lacks personal jurisdiction over Defendant, and the Complaint should

therefore be dismissed under Rule 12(b)(2) of the Federal Rules of Civil Procedure.

       3.      Plaintiff’s/Petitioner’s claims are barred or limited for lack of standing.

       4.      The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, by the applicable statutes of limitations.
   2:18-mn-02873-RMG               Date Filed 04/04/22      Entry Number 2271          Page 2 of 13




        5.      The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, by the applicable statutes of repose.

        6.      The Complaint, and each cause of action or count alleged therein, fails to join all

necessary and indispensable parties.

        7.      The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, because Defendant is entitled to immunity from suit under the government contractor defense.

See Boyle v. United Technologies Corp., 487 U.S. 500 (1988).

        8.      The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, by the doctrine of laches.

        9.      The Complaint, and each alleged claim contained therein, is barred, in whole or in

part, because Plaintiff/Petitioner is not the real party in interest or lacks capacity to bring his claims,

including claims indirectly maintained on behalf of citizens and/or customers and claims brought

as parens patriae.

        10.     Plaintiff’s/Petitioner’s claims are not ripe and/or have been mooted.

        11.     Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, to the extent

he has failed to exhaust administrative remedies.

        12.     Plaintiff’s/Petitioner’s claims may be barred by the doctrine of unclean hands from

all forms of relief sought in the Complaint.

        13.     Plaintiff’s/Petitioner’s may be barred by the doctrines of estoppel and/or waiver

from all forms of relief sought in the Complaint.

        14.     Plaintiff’s/Petitioner’s claims may be barred by the doctrines of res judicata and

collateral estoppel from all forms of relief sought in the Complaint.




                                                    2
   2:18-mn-02873-RMG              Date Filed 04/04/22       Entry Number 2271          Page 3 of 13




       15.     Plaintiff’s/Petitioner’s claims are barred in whole or in part under the bulk supplier,

component part supplier, sophisticated-purchaser, sophisticated-user, sophisticated intermediary,

and/or knowledgeable-user doctrines or other similar or related doctrines available under

applicable law.

       16.     Any injuries and/or damages sustained by Plaintiff/Petitioner may have been

caused or contributed to by the negligence or actual conduct of Plaintiff/Petitioner and/or other

persons, firms, corporations, or entities over whom Defendant had no control or right of control

and for whom Defendant is not responsible.

       17.     Any injuries and/or damages sustained by Plaintiff/Petitioner is barred by the

doctrines of intervening cause and/or superseding cause.

       18.     Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, to the extent

that the products Plaintiff/Petitioner alleged were used on premises owned by Defendant were

unforeseeably misused, or altered, or changed in their condition by others for whom Defendant is

not responsible.

       19.         Plaintiff’s/Petitioner’s alleged injuries and/or damages were caused by activities

 of, conditions created by, negligence of or other conduct of independent contractors or

 subcontractors, for which Defendant has no legal liability or responsibility.

       20.         Plaintiff’s/Petitioner’s claims are barred, in whole or in part, to the extent that they

 arose from acts or conditions constituting appropriate business operations and conforming to the

 state of the art or prevailing customs, standards or industry practices at the relevant time.

       21.         Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, by the

 doctrine of election of remedies.




                                                     3
   2:18-mn-02873-RMG           Date Filed 04/04/22       Entry Number 2271         Page 4 of 13




       22.       Plaintiff’s/Petitioner’s claims are subject to all defenses that could be asserted if

Plaintiff’s/Petitioner’s claims were properly made by an individual on whose behalf or for whose

alleged damages Plaintiff/Petitioner seeks to recover.

       23.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, under

applicable common law or statutory doctrines, including but not limited to avoidable

consequences, voluntary exposure, assumption of risk, and open and obvious risk.

       24.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, because

Defendant used proper methods in designing, testing, and manufacturing its products in conformity

with (i) federal and state regulations, standards, specifications, and laws in effect; (ii) available

knowledge and research of the scientific and industrial communities; (iii) generally recognized and

prevailing industry standards; and (iv) state of the art in existence at the time the design was

prepared and the products were manufactured and tested.

       25.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, because

any alleged levels of contamination did not exceed any applicable laws or binding regulatory

standards at the relevant times.

       26.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, because

federal, state, and/or local authorities authorized, ratified, or were aware of and acquiesced in

actions by Defendant that are the subject of Plaintiff’s/Petitioner’s claims. Defendant is not

responsible or liable for any acts or omissions undertaken by or at the direction of any

governmental authority or agency.

       27.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, by the

doctrine of primary jurisdiction.




                                                  4
   2:18-mn-02873-RMG           Date Filed 04/04/22      Entry Number 2271         Page 5 of 13




       28.       Plaintiff’s/Petitioner’s claims are or may be barred, in whole or in part, under the

doctrine of Federal Preemption, including, without limitation, express preemption, implied conflict

preemption, and field preemption, pursuant to any applicable statutes, regulations, guidance

documents, notices, military specification, and policy statements, enacted and/or promulgated

and/or issued by Congress, federal agencies, or the executive branch, including, without limitation,

to the extent Plaintiff’s/Petitioner’s claims constitute an impermissible challenge to a response or

remediation action under CERCLA, 42 U.S.C. § 9613(h).

       29.       To the extent Plaintiff/Petitioner alleges any claim for breach of warranty, those

claims are or may be barred, in whole or in part, to the extent that any warranties were disclaimed

and/or are limited by applicable provisions of the UCC.

       30.       To the extent Plaintiff/Petitioner alleges any claim for breach of warranty, those

claims are or may be barred, in whole or in part, because Plaintiff/Petitioner did not provide

Defendant reasonable notice of any alleged breach.

       31.       To the extent Plaintiff/Petitioner alleges any claim for breach of warranty, those

claims are or may be barred, in whole or in part, by the voluntary payment doctrine and/or the

partial payment doctrine.

       32.       Plaintiff’s/Petitioner’s damages, if any, were caused by the active, direct, and

proximate negligence or actual conduct of entities or persons other than Defendant, and in the

event that Defendant is found to be liable to Plaintiff/Petitioner, Defendant will be entitled to

indemnification, contribution, and/or apportionment.

       33.       Defendant asserts its rights to allocation or apportionment of fault pursuant to

applicable state law, as well as its rights to a proportionate reduction of any damages found against




                                                 5
   2:18-mn-02873-RMG            Date Filed 04/04/22      Entry Number 2271          Page 6 of 13




Defendant based on the negligence or other conduct of any settling tortfeasor and/or responsible

third party and/or Plaintiff/Petitioner.

        34.      Plaintiff’s/Petitioner’s claims against Defendant are barred or limited by the

economic loss rule.

        33.      Plaintiff/Petitioner may have failed or refused to exercise reasonable care and

diligence to avoid loss and minimize damages and, therefore, may not recover for losses that could

have been prevented by reasonable efforts on his part, or by expenditures which might reasonably

have been made. Recovery, if any, should therefore be reduced by Plaintiff’s/Petitioner’s failure

to mitigate damages, if any.

        34.      Plaintiff’s/Petitioner’s Complaint is barred, in whole or in part, by the doctrines

of acquiescence, accord and satisfaction, ratification, settlement, or release.

        35.      Plaintiff/Petitioner may have alleged an injury that, as a matter of law, does not

support a recovery in tort.

        36.      To the extent that Plaintiff/Petitioner has split his claims, Plaintiff’s/Petitioner’s

claims are barred in whole, or in part, by the doctrine prohibiting claim splitting.

        37.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, because Defendant

did not owe a legal duty to Plaintiff/Petitioner or, if it owed such a duty, did not breach and/or

fully discharged that duty.

        38.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, because, at all

relevant times, Defendant exercised due care with respect to its activities and took reasonable

precautions against foreseeable acts or omissions of others.




                                                  6
   2:18-mn-02873-RMG            Date Filed 04/04/22       Entry Number 2271         Page 7 of 13




       39.       Plaintiff’s/Petitioner’s claims are barred, in whole or in part, because none of the

alleged acts or omissions of Defendant proximately caused the purported injuries and damages

allegedly sustained by Plaintiff/Petitioner.

       40.       Plaintiff’s/Petitioner’s claims are barred, in whole or in part, because to the extent

Defendant owed any cognizable duty to warn, Defendant adequately discharged any such duty.

       41.       Plaintiff’s/Petitioner’s claim for alleged injuries and damages are barred, in whole

or in part, because the claims are speculative and conjectural.

       42.       The relief that Plaintiff/Petitioner seeks, in whole or in part, violates Defendant’s

due process rights.

       43.       Defendant denies any negligence, culpable conduct, or liability on its part but, if

Defendant ultimately is found liable for any portion of Plaintiff’s/Petitioner’s alleged damages,

Defendant shall only be liable for its equitable share of Plaintiff’s/Petitioner’s alleged damages.

       44.       Defendant denies any liability, but in the event Defendant is found to have any

liability to Plaintiff/Petitioner, Defendant is entitled to an offset against any such liability on its

part for the greatest of: (1) any amounts actually paid by any person or entity heretofore or hereafter

for any of the injuries, costs, damages and expenses alleged in the complaint; (2) any amounts

stipulated or otherwise agreed to in any release or covenant not to sue any person or entity

heretofore or hereafter for any of the injuries, costs, damages and expenses alleged in the

complaint; or (3) the equitable share of the liability of any person or entity that heretofore has

received, or hereafter receives, any release from liability or covenant not to sue with respect to any

of the injuries, costs, damages and expenses alleged in the complaint.




                                                  7
   2:18-mn-02873-RMG            Date Filed 04/04/22       Entry Number 2271           Page 8 of 13




        45.      Defendant cannot be held jointly and severally liable for the acts or omissions of

third parties because its acts or omissions were separate and distinct and the alleged harm is

divisible from and greater than any harm allegedly caused by acts or omissions of Defendant.

        46.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, for failing to link any

of his alleged exposure to any product(s) manufactured by Defendant.

        47.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, to the extent

Plaintiff/Petitioner cannot establish that his alleged injuries were caused by exposure to PFOA

from any product(s) attributable to Defendant.

        48.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, to the extent that

Plaintiff/Petitioner cannot establish that PFOA has been reliably established, through scientific

means, to be capable of causing his alleged injuries.

        49.      Plaintiff’s/Petitioner’s claims are barred, in whole or in part, to the extent that

Plaintiff/Petitioner cannot establish that he was exposed to a sufficient concentration or amount of

PFOA, and/or for a sufficient duration, that has been reliably established, through scientific means,

to be capable of causing his alleged injuries.

        50.      Any damages Plaintiff/Petitioner may have suffered were not reasonably

foreseeable by Defendant at the time of the conduct alleged.

        51.      Plaintiff’s/Petitioner’s claim is barred, in whole or in part, because Defendant

neither knew, nor should have known, that any of the substances to which Plaintiff/Petitioner was

allegedly exposed were hazardous or constituted a reasonable or foreseeable risk of physical harm

by virtue of the prevailing state of the medical, scientific, technical, and/or industrial knowledge

available to Defendant at all times relevant to the claims or causes of action asserted by

Plaintiff/Petitioner.


                                                   8
   2:18-mn-02873-RMG           Date Filed 04/04/22      Entry Number 2271         Page 9 of 13




       52.      Defendant is entitled to all of the procedural, substantive, and other protections,

caps, and limitations provided by the state statutes and other state and federal law regarding

Plaintiff’s/Petitioner’s claims for compensatory and punitive damages.

       53.      The Complaint fails to state a claim upon which punitive or exemplary damages

may be awarded.

       54.      Defendant did not engage in any conduct which would warrant or form a valid

basis for an award of punitive damages.

       55.      Plaintiff/Petitioner has failed to adequately plead and/or allege that Defendant

acted with the requisite state of mind to warrant an award of punitive damages.

       56.      Defendant has complied with all applicable statutes and regulations set forth by

local, state, and/or federal government(s) with regard to the conduct alleged in the complaint, and,

therefore, to the extent that consideration is given to Plaintiff’s/Petitioner’s claims, punitive

damages are unwarranted in law and fact.

       57.      Punitive damages are not available because all conduct and activities of Defendant

related to matters alleged in the complaint conformed to industry standards based upon the state

of medical, scientific, and/or industrial knowledge which existed during the relevant and material

time period.

       58.      Punitive damages are not available because Defendant neither knew nor should

have known that the substances to which Plaintiff/Petitioner was allegedly exposed was hazardous

or constituted a reasonable or foreseeable risk of physical harm, and Defendant therefore lacked

notice that its conduct was unlawful or subject to punishment and an award of punitive damages

would violate Defendant’s constitutional right to due process.




                                                 9
  2:18-mn-02873-RMG            Date Filed 04/04/22       Entry Number 2271          Page 10 of 13




       59.       Plaintiff’s/Petitioner’s claims for punitive or exemplary damages are barred or

reduced by applicable law or statute, or are unconstitutional insofar as they violate the due process

protections afforded by the Unites States Constitution, including without limitation the Fifth,

Eighth, and Fourteenth Amendments to and the Excessive Fines Clause and Full Faith and Credit

Clause of the United States Constitution, and other applicable provisions of the Constitution of

any other state whose laws may apply.

       60.       Plaintiff’s/Petitioner’s claims are barred, in whole or in part, to the extent that the

alleged injuries and damages, if any, were due to preexisting conditions, for which Defendant

cannot be held responsible.

       61.       Defendant reserves the right to assert all applicable defenses under Federal Rules

of Civil Procedure 8(c) and 12(b), as investigation and discovery proceeds.

       62.       Defendant adopts by reference any additional applicable defense pleaded by any

other Defendants not otherwise pleaded herein.

       63.       Defendant adopts by reference any additional applicable defense asserted by

Defendants prior to transfer in any case transferred to this MDL.

       64.       Plaintiff’s/Petitioner’s claims against Defendant are barred and/or preempted by

La. R.S. 9:2771 and 9:2772 as well as C.C. Art. 3500.

       65.       Defendant avers that any product liability claims against it are governed by the

negligence standard existing prior to Weber v. Fidelity & Casualty Ins. Co. of N Y., 259 La. 599,

250 So.2d 754 (1971).

       66.       Alternatively, Defendant affirmatively avers the affirmative defenses of La. R.S.

9:2800.51 et seq., the Louisiana Products Liability Act.




                                                  10
  2:18-mn-02873-RMG            Date Filed 04/04/22       Entry Number 2271         Page 11 of 13




       67.       If Plaintiff’s/Petitioner’s have heretofore settled or should hereafter settle for any

of the alleged injuries and damages with any parties, then Defendant is entitled to a credit for any

such settlement. Defendant further pleads all defenses entitled to it based on any past or future

settlement with Plaintiff/Petitioner including, but not limited to, accord and satisfaction.

       68.       Defendant denies that Plaintiff/Petitioner has valid claims against Defendant

under the Louisiana Unfair Trade Practices and Consumer Protection Law, the Louisiana Medical

Assistance Programs Integrity Act, the Louisiana Antitrust Statute and for common law fraud,

negligent misrepresentation and unjust enrichment. However, if such claims are found to exist,

Defendant pleads all applicable defenses under the Louisiana Unfair Trade Practices Act, the

Louisiana Medical Assistance Programs Integrity Act, the Louisiana Antitrust Statute and to

common law fraud, misrepresentation, and unjust enrichment.

       69.       Plaintiff’s/Petitioner’s claims against Defendant under the Louisiana Unfair Trade

Practices and Consumer Protection Law and the Louisiana Medical Assistance Programs Integrity

Act are barred in whole or in part to the extent that the Acts: (i) do not allow (or did not allow at

the time the conduct was alleged herein) for recovery by indirect purchasers; and (ii) do not govern

conduct that was primarily interstate in nature.

       70.       Plaintiff’s/Petitioner’s claims are barred, in whole or in part, by the Noerr-

Pennington doctrine to the extent that such claims are premised, in whole or in part, on alleged

statements or conduct by Defendant in judicial, legislative, or administrative proceedings of any

kind or at any level of government.

       71.       Defendant does not admit or acknowledge that it bears the burden of proof and/or

burden of persuasion with respect to any of the above defenses. All of the preceding defenses are

pled in the alternative and none constitute an admission that Defendant is liable to


                                                   11
  2:18-mn-02873-RMG            Date Filed 04/04/22        Entry Number 2271          Page 12 of 13




Plaintiff/Petitioner, that Plaintiff/Petitioner has been or will be injured or damaged in any way, or

that Plaintiff/Petitioner is entitled to any relief whatsoever. Defendant reserves its rights to (i) rely

on any and all defenses and presumptions set forth in or arising from any rule of law or statute of

any state whose substantive law might control the relevant action, (ii) rely upon any other defenses

set forth in any Answer or disclosure of affirmative defenses of any defendant in the above-

captioned action (including, without limitation, any case transferred to the above-captioned action),

(iii) rely upon any other defenses that may become apparent during fact or expert discovery in this

matter, and (iv) to amend this document to assert any such defenses.

                                        GENERAL DENIAL

        72.      Pursuant to the Federal Rules of Civil Procedure, Defendant denies every single

allegation in Plaintiff’s/Petitioner’s Original Petition for Damages



Dated: April 4, 2022                                    Respectfully Submitted,

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                                                   12
  2:18-mn-02873-RMG             Date Filed 04/04/22     Entry Number 2271        Page 13 of 13




                                  CERTIFICATE OF SERVICE
          A true and correct copy of the foregoing was electronically filed with this Court’s CM/ECF

system on April 4, 2022, and accordingly served automatically upon all counsel of record for this

matter.


                                                      /s/ Brent Dwerlkotte
                                                           Brent Dwerlkotte




                                                 13
